            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                             1:15 CR 85-11


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                  ORDER
                                       )
MIRANDA NATIONS.                       )
                                       )
______________________________________ )


      THIS CAUSE coming on to be heard before the undersigned at the close of

a Rule 11 and plea proceeding that was held before this Court on August 22, 2016.

It appeared to the Court at the call of this matter on for hearing the Defendant was

present with her attorney, J. Frank Lay, II and the Government was present and

represented through AUSA Richard Edwards. From the arguments of counsel for

Defendant and the arguments of the Assistant United States Attorney and the records

in this cause, the Court makes the following findings:

      Findings.    On September 15, 2015 a bill of indictment (#1) was issued

charging the Defendant with conspiracy to traffic in methamphetamine, in violation

of 21 U.S.C. § 846. In an additional count, Defendant was charged with possessing

with intent to distribute methamphetamine, in violation of 21 U.S.C. § 841(a)(1). On

August 22, 2016 the undersigned held an inquiry, pursuant to Rule 11 of the Federal


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Rules of Criminal Procedure, and accepted a plea of guilty of the Defendant to the

charge of conspiracy to distribute methamphetamine and contained in count one of

the bill of indictment. At the end of the Rule 11 proceeding, this Court presented

the issue of whether or not Defendant should now be detained, pursuant to 18 U.S.C.

§ 3143(a)(2).

      Discussion.    18 U.S.C. § 3143(a)(2) provides as follows:

      (2) The judicial officer shall order that a person who has been found
      guilty of an offense in a case described in subparagraph (A), (B), or (C)
      of subsection (f)(1) of section 3142 and is awaiting imposition or
      execution of sentence be detained unless ----

             (A)(i) the judicial officer finds there is a substantial likelihood
      that a motion for acquittal or new trial will be granted; or

            (ii) an attorney for the Government has recommended that no
            sentence of imprisonment be imposed on the person; or

            (B) the judicial officer finds by clear and convincing evidence
            that the person is not likely to flee or pose a danger to any other
            person or the community.

      From an examination of the records in this cause, it appears Defendant has

entered a plea of guilty to 21 U.S.C. § 841(a)(1). That crime is one of the crimes

that is referenced under 18 U.S.C. § 3142(f)(1)(C).

      The undersigned made an inquiry of AUSA Richard Edwards as to whether

or not there will be a recommendation that no sentence of imprisonment be imposed

upon Defendant. Mr. Edwards advised the Court that such a recommendation could

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not be made in this matter. Due to the plea of guilty, the undersigned cannot find

there is a likelihood that a motion for acquittal or new trial will be granted.

      It would thus appear, and the Court is of the opinion that the Court is required

to apply the factors as set forth under 18 U.S.C. § 3143(a)(2) which mandate the

detention of Defendant.

                                       ORDER

      IT IS, THEREFORE, ORDERED, that the terms and conditions of pretrial

release in this matter are hereby revoked and it is ORDERED that the Defendant be

detained pending further proceedings in this matter.


                                        Signed: August 24, 2016




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